                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 1 of 19 Page ID #:1




                                   1   David Kupetz (State Bar No. 120562)
                                       david.kupetz@lockelord.com
                                   2
                                       LOCKE LORD LLP
                                   3   300 S. Grand Avenue, Suite 2600
                                       Los Angeles, CA 90071
                                   4
                                       Telephone: (213) 485-1500
                                   5   Facsimile: (213) 485-1200
                                   6
                                       Shalom Jacob (Pro Hac Vice application forthcoming)
                                   7   sjacob@lockelord.com
                                       LOCKE LORD LLP
                                   8
                                       Brookfield Place
                                   9   200 Vesey Street, 20th Floor
                                       New York, NY 10281
                                  10
                                       Telephone: (212) 415-8600
                                  11
                                  12   Attorneys for Plaintiff
                                       MARICH BEIN LLC
300 S. Grand Avenue, Suite 2600




                                  13
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14                             UNITED STATES DISTRICT COURT
                                  15                         CENTRAL DISTRICT OF CALIFORNIA
                                  16   MARICH BEIN LLC,                   )         Case No.
                                                                          )
                                  17                                      )         COMPLAINT FOR:
                                                         Plaintiff,       )
                                  18                                      )         1. Breach of Contract;
                                            vs.                           )         2. Intentional Interference with
                                  19                                      )            Contractual Relations;
                                  20   THE LITIGATION PRACTICE GROUP, PC ))         3. Conversion;
                                       and OAKSTONE LAW GROUP PC,                   4. Avoidance and Recovery of
                                  21                                      )
                                                                          )            Fraudulent Transfers;
                                  22                     Defendants.      )         5. Declaratory Relief; and
                                                                          )         6. Temporary Restraining Order,
                                  23                                      )            and Preliminary and Permanent
                                                                          )
                                  24                                      )            Injunctions
                                                                          )
                                  25                                      )
                                                                          )         JURY TRIAL DEMANDED
                                  26                                      )
                                  27                                      )

                                  28

                                                                              1
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 2 of 19 Page ID #:2




                                   1         Plaintiff Marich Bein LLC (“Plaintiff”), demanding a jury trial for any issues
                                   2   triable by a jury, alleges:
                                   3                                  NATURE OF THE CASE
                                   4         1.     This is an action for damages and injunctive relief by which Plaintiff
                                   5   seeks to enforce, and to enjoin defendants from interfering with, Plaintiff’s lawful
                                   6   exercise of rights and privileges granted to it by defendant The Litigation Practice
                                   7   Group PC (“LPG”). LPG bills itself as a law firm that, among other things, assists
                                   8   consumers who may be experiencing financial difficulties in obtaining debt relief.
                                   9   LPG’s clients (“Clients”) enter legal services agreements pursuant to which they
                                  10   authorize a series of monthly withdrawals to be made from their bank accounts.
                                  11   Plaintiff, which is not a law firm, is in the business of servicing and purchasing
                                  12   accounts receivable.
300 S. Grand Avenue, Suite 2600




                                  13         2.     This action arises from an ongoing scheme through which LPG and
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14   defendant Oakstone Law Group, PC (“Oakstone”), both law firms under the direction
                                  15   of a disbarred lawyer, Tony Diab (“Diab”), are attempting to avoid LPG’s contractual
                                  16   agreements with Plaintiff pursuant to which LPG: (a) assigned to Plaintiff the
                                  17   exclusive right to service all of LPG’s approximately 50,000 accounts receivable with
                                  18   its Clients, including without limitation the right to withdraw monthly payments from
                                  19   the Clients’ bank accounts; and (b) assigned to Plaintiff, for value, the ownership of
                                  20   15,000 to 20,000 of such accounts receivable.
                                  21         3.     In furtherance of the scheme, on information and belief, LPG has
                                  22   purported to, inter alia: (a) terminate contracts with at least 25,000 of its Clients; (b)
                                  23   referred and transferred, for no or inadequate consideration, at least 15,000 of those
                                  24   Clients to Oakstone (a newly organized law firm that is, on information and belief,
                                  25   LPG’s alter ego)1; (c) assisted Oakstone in entering into “new” contracts with the
                                  26   Clients; (d) notified Plaintiff that Plaintiff’s rights to the make withdrawals from the
                                  27
                                  28   1
                                         On information and belief, LPG is referring and transferring other Clients to other
                                       law firms.
                                                                                  2
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 3 of 19 Page ID #:3




                                   1   Clients’ bank accounts has been terminated; (e) terminated Plaintiff’s access to data
                                   2   necessary to allow Plaintiff to fully exercise the rights granted to it, and to which data
                                   3   Plaintiff is contractually entitled; and (f) disavowed LPG’s agreements with Plaintiff.
                                   4         4.     Oakstone has threatened to withdraw payments itself from Clients’
                                   5   accounts, an action which, if carried out, would contravene Plaintiff’s contractual
                                   6   rights and result in double withdrawing from such accounts by Oakstone. Such
                                   7   actions would thus not only interfere with Plaintiff’s ability to exercise the rights it
                                   8   obtained from LPG but, of equal importance, would also impose hardships on the
                                   9   Clients, many of whom are, as evidenced by their retention of LPG in the first
                                  10   instance, already financially stressed. In addition to the obvious deleterious financial
                                  11   consequences, such double-withdrawals will also result in demands for refunds from
                                  12   the Clients, the likely cancellation of their legal services agreements, and a withdrawal
300 S. Grand Avenue, Suite 2600




                                  13   of any authorization by them to withdraw funds from their bank accounts.
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14         5.     Moreover, Oakstone has sent cease and desist letters to one or more
                                  15   banks, notifying such banks of the above-described actions and demanding that such
                                  16   banks cease and desist from processing debits on the Clients’ bank unless those debits
                                  17   have been initiated by Oakstone or others acting at Oakstone’s direction. Indeed, in at
                                  18   least one instance, Oakstone has also filed a lawsuit against a bank, BankUnited, N.A.
                                  19   (“BankUnited”), seeking temporary and permanent injunctive relief barring
                                  20   BankUnited from processing withdrawals on the Clients’ bank accounts other than
                                  21   those consented to by Oakstone. Plaintiff was not made a party to that suit, and the
                                  22   same appears to reflect an effort by Oakstone to, in effect, adjudicate Plaintiff’s rights
                                  23   in and to the said accounts without providing any advance notice to Plaintiff, or any
                                  24   opportunity to be heard, in opposition.
                                  25         6.     The wrongful coordinated actions of LPG and Oakstone are causing
                                  26   damage, including irreparable damage, to Plaintiff. Plaintiff has no adequate remedy
                                  27   at law by which it may obtain redress for the harm caused by LPG and Oakstone’s
                                  28   actions. Therefore, Plaintiff seeks recovery of damages and this Court’s declaration of

                                                                                    3
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 4 of 19 Page ID #:4




                                   1   Plaintiff’s contractual rights and entry of orders enjoining Defendants from interfering
                                   2   with Plaintiff’s exercise of such rights.
                                   3                                           PARTIES
                                   4         7.     Plaintiff is a limited liability company organized under the laws of the
                                   5   state of New York. Plaintiff’s sole member is Hershy Deutsch. He is a citizen and
                                   6   resident of the state of New Jersey. Plaintiff’s principal place of business is located in
                                   7   the state of New York.
                                   8         8.     Defendant LPG is a corporation organized under the laws of the state of
                                   9   California. According to the records of the California Secretary of State, LPG’s
                                  10   principal place of business is located in Tustin, California. Daniel S. March
                                  11   (“March”) is LPG’s Director, CEO, CFO and Secretary. LPG’s website and its
                                  12   agreements with Plaintiff further state that March is LPG’s Managing Shareholder.
300 S. Grand Avenue, Suite 2600




                                  13         9.     Defendant Oakstone is a newly formed corporation organized under the
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14   laws of the state of California. Oakstone’s initial filing with the California Secretary
                                  15   of State was made on January 9, 2023. Oakstone’s principal place of business is in La
                                  16   Jolla, California.
                                  17         10.    On information and belief, at all times relevant to this Complaint, LPG
                                  18   and Oakstone were co-conspirators, agents, servants, employees, alter egos,
                                  19   successors-in-interest, subsidiaries, affiliated companies or corporations, and joint
                                  20   ventures of each other, and were, as such, acting within the course, scope, and
                                  21   authority of each other. Further, on information and belief, each of LPG and
                                  22   Oakstone acted in concert with, and with the consent of, each other, and each of them
                                  23   ratified or agreed to accept the benefits of the conduct of the other.
                                  24                               JURISDICTION AND VENUE
                                  25         11.    For purposes of 28 U.S.C. § 1332, Plaintiff is a citizen of the state of
                                  26   New Jersey, and defendants are citizens of the state of California. The matter in
                                  27   controversy exceeds the sum of $75,000.00, exclusive of interest and costs. This
                                  28   Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1332(a).

                                                                                   4
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 5 of 19 Page ID #:5




                                   1            12.   Venue is proper in this District pursuant to 28 U.S.C. § 1391. A
                                   2   substantial part of the events or omissions giving rise to the claims stated herein
                                   3   occurred at LPG’s office in Tustin, California, within this judicial district.
                                   4            13.   Defendants, both California corporations with their principal places of
                                   5   business in such state, are subject to this Court’s personal jurisdiction with respect to
                                   6   this action.
                                   7                                   STATEMENT OF FACTS
                                   8            14.   LPG is a law firm that claims to specialize in resolution of consumer
                                   9   debt. Although it claims otherwise, LPG is, in reality, run entirely by Diab, a former
                                  10   attorney who has been disbarred in two states following disciplinary proceedings for
                                  11   serious ethics violations, including stealing client funds and forging the signature of a
                                  12   judge.
300 S. Grand Avenue, Suite 2600




                                  13            15.   On information and belief, at times relevant to this complaint, LPG had
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14   more than 50,000 active client accounts nationwide.
                                  15            16.   On or about September 18, 2022, Plaintiff and LPG entered into an
                                  16   Assignment of Servicing Rights (“Assignment”), pursuant to which LPG agreed, inter
                                  17   alia, as follows:
                                  18                  Article I. ASSIGNMENT
                                  19                         Section I.1 Assignment of Servicing Rights. [LPG],
                                  20                  by these presents does hereby presently, unconditionally,
                                  21                  absolutely and irrevocably assign, transfer, convey and set
                                  22                  over to [Plaintiff] (it being intended by [LPG] that such
                                  23                  assignments constitute present, absolute and unconditional
                                  24                  assignments and not assignments for additional security
                                  25                  only, but such assignment shall constitute security for
                                  26                  [LPG]’s obligations to [Plaintiff] or its affiliates), all of
                                  27                  [LPG]’s right, title and interest in and to the Servicing
                                  28                  Rights, including, without limitation, any right of [LPG] or

                                                                                      5
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 6 of 19 Page ID #:6




                                   1             any of its affiliates (whether such rights are currently
                                   2             existing or arising in the future) to service collection of
                                   3             subscription fees, return payment fees, or any other fee or
                                   4             payment resulting from any Customer’s engagement with
                                   5             [LPG] or any of its affiliates, or give notices, sue for
                                   6             payment under the Customer contracts or to take any action
                                   7             at law or in equity relating to the Customer contracts.
                                   8
                                   9             Article II. SERVICING OF CONTRACTS
                                  10                    Section I.2 [sic] Appointment as Third-Party
                                  11             Servicer. . . . [LPG] hereby retains [Plaintiff] to act as third-
                                  12             party [Plaintiff] for the Receivables . . . .
300 S. Grand Avenue, Suite 2600




                                  13                    Section I.3 [sic] Servicing of Receivables. . . . [LPG]
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14             agrees to provide [Plaintiff] and its subcontractors with such
                                  15             assistance in the servicing, collection and administration of
                                  16             any Receivable as may be requested by [Plaintiff] from time
                                  17             to time.
                                  18                    Section I.4 [sic] Limited Power of Attorney. [LPG]
                                  19             hereby irrevocably appoints and empowers [Plaintiff] as
                                  20             [LPG]’s true and lawful attorney-in-fact, with full power of
                                  21             substitution, to endorse and promptly deposit on [LPG]’s
                                  22             behalf any checks or other instruments made payable to
                                  23             [LPG] and submitted by a Customer as payment on any
                                  24             Receivable, and to take any other action relating to the
                                  25             Receivables in [LPG]’s name and place that [Plaintiff]
                                  26             deems advisable and consistent with the terms of this
                                  27             Agreement. This power of attorney shall be deemed to a
                                  28             right coupled with an interest.

                                                                                  6
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 7 of 19 Page ID #:7




                                   1                          *             *             *
                                   2             ARTICLE III. OBLIGATIONS OF MERCHANT
                                   3                   Section III.1 Access to All Digital Records,
                                   4             Databases, and Applications. [LPG] shall provide [Plaintiff]
                                   5             any information requested by [Plaintiff] with respect to its
                                   6             Customers and the Customer contracts. At all times,
                                   7             [Plaintiff] must have unfettered access to all software
                                   8             applications used by [LPG], including, but not limited to,
                                   9             Debt Pay Pro, Snowflake, or any other databases used by
                                  10             [LPG] in its ordinary course of business.
                                  11                          *             *             *
                                  12                   Section III.3 No Impairment. [LPG] will not take
300 S. Grand Avenue, Suite 2600




                                  13             any action (including placing or allowing placement of a lien
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14             or security interest on any Purchased Receivable) or make
                                  15             any omission that has, individually or in the aggregate, an
                                  16             adverse effect on any Purchased Receivable or on
                                  17             [Plaintiff]’s ability to collect on any Purchased Receivable.
                                  18                   Section III.4 Amounts Received. . . . [LPG] shall not
                                  19             in any way encourage or cause any proceeds to be paid,
                                  20             processed, settled or delivered to any person or account
                                  21             other than the [Plaintiff]’s account, and shall take all
                                  22             affirmative steps at its expense and as necessary or
                                  23             appropriate to prevent any such occurrence from recurring.
                                  24             [LPG] is prohibited from instructing any Customer to pay
                                  25             [LPG] or any other third party on a Receivable or otherwise
                                  26             suggest that Customer may make a payment to [LPG] or any
                                  27             other third party instead of paying [Plaintiff] to satisfy its
                                  28             payment obligation.

                                                                                 7
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 8 of 19 Page ID #:8




                                   1                               *             *            *
                                   2                  ARTICLE VI. MISCELLANEOUS
                                   3                        Section I.7 [sic] Term and Termination. This
                                   4                  Assignment shall commence on [September 19, 2022] and
                                   5                  shall continue in full force and effect, until released by
                                   6                  [Plaintiff]. [LPG] may terminate this Assignment at any
                                   7                  time and for any reason provided that the total amount of
                                   8                  Purchased Receivables held by [Plaintiff] and its affiliates
                                   9                  are less than $1,000,000.00.[2]
                                  10                               *             *            *
                                  11                        Section VI.1[sic] Exclusivity. [LPG]understands and
                                  12                  agrees that the relationship set forth in this Assignment is
300 S. Grand Avenue, Suite 2600




                                  13                  exclusive. [LPG] forgoes any right to contract with other
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14                  parties for the same or similar services provided by
                                  15                  [Plaintiff] under this Assignment.
                                  16   (Underscoring and bolding in original.)
                                  17           17.    Since entering into the Assignment, Plaintiff has exercised the rights
                                  18   granted to it therein and has complied with the terms thereof.
                                  19           18.    In addition to the Assignment, on or about August 18, September 21,
                                  20   October 6 and November 14, 2022, in return for the payment of amounts totaling in
                                  21   excess of $10,000,000, LPG entered into Accounts Receivable Purchase Agreements
                                  22   (“Agreements”) pursuant to which LPG sold, assigned, transferred and delivered to
                                  23   Plaintiff all of LPG’s right, title and interest in and to certain of LPG’s client accounts
                                  24   (“Purchased Accounts”), totaling between 15,000 and 20,000 accounts. Each of the
                                  25   Agreements was executed on behalf of LPG by Daniel S. March as Managing
                                  26   Shareholder and also by Diab.
                                  27
                                       2
                                  28       The total amount of Purchased Receivables now held by Plaintiff is in excess of
                                           $1,000,000.00.
                                                                                 8
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 9 of 19 Page ID #:9




                                   1       19.   In the Agreements, LPG warranted that:
                                   2             A.    LPG was conveying to Plaintiff good, valid, transferable and
                                   3                   marketable title to all of the Purchased Accounts, free and clear of
                                   4                   all liens; and
                                   5             B.    LPG’s delivery of the Purchased Accounts to Plaintiff would not
                                   6                   conflict with, result in any violation of, or default under, or give
                                   7                   rise to a right of termination or modification of any obligation, or
                                   8                   loss of any benefit, under any contract to which LPG is a party,
                                   9                   including any assigned contract.
                                  10       20.   In the Agreements, LPG further agreed:
                                  11             A.    To indemnify and hold Plaintiff harmless against, inter alia, all
                                  12                   claims, losses, liabilities, damages, deficiencies, diminutions in
300 S. Grand Avenue, Suite 2600




                                  13                   value, and costs sustained by Plaintiff as a result of, arising out of,
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14                   or in connection with any inaccuracy in or breach of any
                                  15                   representation or warranty or any breach or non-fulfillment of any
                                  16                   obligation to be performed by LPG under its agreements with
                                  17                   Plaintiff;
                                  18             B.    The Agreements would be binding upon Plaintiff and Plaintiff’s
                                  19                   successors and permitted assigns;
                                  20             C.    Neither the Agreements nor any rights or obligations of a party
                                  21                   thereto shall be assigned, unless to an affiliate of the assigning
                                  22                   party, without the prior written consent of the other party; and
                                  23             D.    Irreparable damage would occur if any provision of the
                                  24                   Agreements was not performed in accordance with the terms
                                  25                   thereof and that the parties would be entitled to specific
                                  26                   performance thereof, in addition to any other remedy to which they
                                  27                   are entitled under the Agreements, at law or in equity.
                                  28

                                                                                9
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 10 of 19 Page ID #:10




                                   1         21.    In an abundance of caution, Plaintiff has perfected any security interests
                                   2   under its agreements with LPG by filing appropriate UCC financing statements.
                                   3   However, such perfection is unnecessary since, under the Agreements, LPG sold the
                                   4   Purchased Accounts to Plaintiff.
                                   5         22.    Based on the foregoing agreements, and the promises, covenants,
                                   6   representations and warranties therein contained, and notwithstanding that the
                                   7   Purchased Accounts are Plaintiff’s property, Plaintiff has the right to service all of
                                   8   LPG’s accounts and make withdrawals from all of LPG’s Clients.
                                   9                LPG and Oakstone Act To Contravene Plaintiff’s Rights
                                  10         23.    For months after LPG’s and Plaintiff’s entry into the above described
                                  11   Assignment and Agreements, Plaintiff serviced the Clients’ accounts, using data in
                                  12   LPG’s software systems and processing withdrawals from the Clients’ bank accounts,
300 S. Grand Avenue, Suite 2600




                                  13   all in accordance with the parties’ contractual arrangements and without objection
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14   from LPG.
                                  15         24.    However, in recent weeks LPG and Oakstone have taken actions in
                                  16   derogation of Plaintiff’s rights as aforesaid.
                                  17         25.    On or about February 2, 2023, LPG implemented changes to its software
                                  18   systems so as to completely deny Plaintiff access thereto. Notwithstanding Plaintiff’s
                                  19   repeated protests about this breach of LPG’s obligation to provide“unfettered access,”
                                  20   LPG has not restored such access. The lack of such access impairs Plaintiff’s ability
                                  21   to accurately service the Clients’ accounts.
                                  22         26.    On or about February 6, 2023, Plaintiff received an unsigned email
                                  23   purporting to be from legal@lpglaw.com directing Plaintiff to cease and desist from
                                  24   processing payments on any of the Clients’ accounts. The email purports to disavow
                                  25   the Assignment, yet offers to discuss resolution of “this dispute.” See Exhibit A
                                  26   annexed hereto.
                                  27         27.    On information and belief, at about the same time, most of LPG’s
                                  28   employees were discharged from its employ, and some, including at least two lawyers,

                                                                                   10
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 11 of 19 Page ID #:11




                                   1   became employees of Oakstone, which had been formed only one month earlier.
                                   2         28.       On February 10, 2023, Oakstone, through counsel, emailed Plaintiff a
                                   3   copy of a cease and desist letter that such counsel had sent to BankUnited
                                   4   (“BankUnited Letter”). See Exhibit B annexed hereto. The BankUnited Letter states
                                   5   that: (a) Oakstone has retained certain accounts from LPG and LPG has transferred its
                                   6   practice to Oakstone; and (b) Oakstone terminated BankUnited’s “relationship” with
                                   7   those accounts on or about February 2, 2023, and has withdrawn any authorization to
                                   8   process automatic withdrawals from any customer account.
                                   9         29.       The Assignment prohibits LPG from taking the actions described in the
                                  10   BankUnited Letter.
                                  11         30.       The BankUnited Letter also enclosed a 300 page listing of clients, with
                                  12   bank account numbers and bank routing numbers (which list is not included in Exhibit
300 S. Grand Avenue, Suite 2600




                                  13   B due to the sensitive nature of the information therein). The list includes thousands
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14   of accounts that are Purchased Accounts and, hence, Plaintiff’s property.
                                  15         31.       On February 16, 2023, Oakstone, through counsel, initiated an action (the
                                  16   “BankUnited Action”) against BankUnited in the District Court of Dallas County,
                                  17   Texas, 192nd Judicial District, under Cause No. DC-23-02116, seeking, among other
                                  18   things, a temporary restraining order and temporary and permanent injunctive relief
                                  19   enjoining BankUnited from processing debits on the accounts on the list enclosed with
                                  20   the BankUnited Letter. A copy of Oakstone’s petition is annexed hereto as Exhibit C
                                  21   (“Petition”).
                                  22         32.       According to the Petition, on or about January 11, 2023, two days after
                                  23   Oakstone was formed, an alleged secured creditor named PECC Corporation
                                  24   (“PECC”) exercised remedies under an alleged promissory note and security interest.
                                  25   No detail was provided concerning the debt owed to PECC or the manner in which its
                                  26   remedies were exercised. The Petition further asserted that LPG terminated its
                                  27   agreements with its clients, an action prohibited by the Assignment, and referred such
                                  28   clients to Oakstone, which is described, notwithstanding that it only recently came

                                                                                    11
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 12 of 19 Page ID #:12




                                   1   into existence, as a consumer protection law firm capable of servicing 15,000
                                   2   customers. Oakstone claims to have entered new legal service agreements with the
                                   3   15,000 clients and to have the exclusive authority to process payments from those
                                   4   clients.
                                   5          33.   Although there is no express statement in the Petition that BankUnited is
                                   6   processing withdrawals for Plaintiff, it is clear that Oakstone and LPG believe that to
                                   7   be the case. Interestingly, however, and despite the fact that equitable relief sought in
                                   8   the Petition would seriously impair, if not completely abrogate, Plaintiff’s rights under
                                   9   the aforesaid agreements, Oakstone failed to name Plaintiff in the Petition, thus
                                  10   depriving Plaintiff with advance notice of its filing or a contemporaneous opportunity
                                  11   to be heard in connection therewith.
                                  12    LPG and Oakstone are Alter Egos or Oakstone is a Mere Continuation of LPG
300 S. Grand Avenue, Suite 2600




                                  13          34.   On information and belief, the LPG-Oakstone transaction was a sham
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14   transaction, put together for no consideration between affiliated or alter ego parties,
                                  15   for the sole purpose of attempting to divest Plaintiff of its exclusive rights to service
                                  16   LPG’s accounts and Plaintiff’s ownership of the Purchased Accounts, accounts for
                                  17   which Plaintiff paid in excess of $10,000,000.
                                  18          35.   Prior to January 9, 2023, Oakstone did not exist.
                                  19          36.   On information and belief, at the time that the LPG-Oakstone transaction
                                  20   took place, allegedly on January 11, 2023, Oakstone had no ability to provide any
                                  21   types of legal services to 15,000 clients, much less specialized consumer protection
                                  22   legal services.
                                  23          37.   On information and belief, much of LPG’s staff, including at least two
                                  24   lawyers, have been transferred to Oakstone.
                                  25          38.   On information and belief, Diab manages Oakstone’s financial affairs,
                                  26   just as he has been doing for LPG.
                                  27          39.   Although the California Secretary of State’s records indicate that Daniel
                                  28   S. March is the only officer of LPG, and the Assignment and Agreements were signed

                                                                                   12
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 13 of 19 Page ID #:13




                                   1   by March as “Managing Shareholder,” Plaintiff’s dealings with LPG have been with
                                   2   Diab (excepting operations-related communications that have been with lower level
                                   3   employees).
                                   4         40.     From Plaintiff’s recent communications with Diab, Plaintiff believes that
                                   5   Diab directs Oakstone’s operations. Indeed, there may not be any other available
                                   6   representative with whom an interested party can communicate. Plaintiff’s counsel
                                   7   asked Oakstone’s counsel for the name of an Oakstone representative, and counsel
                                   8   professed not to recall the name of any such individual. Further, Oakstone’s articles
                                   9   of incorporation identify CT Corporation System, not an individual, as Oakstone’s
                                  10   registered agent, and Oakstone has yet to file an initial statement of information with
                                  11   the California Secretary of State.
                                  12         41.     Additionally, until approximately one week ago, Oakstone appeared to
300 S. Grand Avenue, Suite 2600




                                  13   have only a single attorney, Jayde Trinh, a recent law school graduate and LPG
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14   attorney whose name remained on LPG’s website.
                                  15         42.     As of February 19, 2023, Oakstone’s website identified a single attorney,
                                  16   Scott J. Eadie, as its “head attorney.” LPG’s website also has a page describing Mr.
                                  17   Eadie. On information and belief, Mr. Eadie has become affiliated with LPG and
                                  18   Oakstone only very recently. On information and belief, for approximately 40 years
                                  19   Mr. Eadie has practiced worker’s compensation law at his own law firm, which is still
                                  20   in operation. Mr. Eadie does not appear to have the experience needed to provide
                                  21   consumer protection legal representation to 15,000 consumers located across the
                                  22   United States, much less the background to handle such a firm’s financial affairs.
                                  23         43.     Plaintiff’s investigation of this matter is incomplete and is continuing.
                                  24   Plaintiff reserves the right to amend this Complaint to assert claims should
                                  25   circumstances so warrant.
                                  26
                                  27
                                  28

                                                                                   13
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 14 of 19 Page ID #:14




                                   1                               FIRST CLAIM FOR RELIEF
                                   2                      (Breach of Contract– Against both Defendants)
                                   3         44.    Plaintiff repeats and re-alleges each of the allegations set forth in
                                   4   paragraphs 1 through 43 hereof as if fully set forth herein
                                   5         45.    Defendants, acting in concert and/or as alter egos, have breached the
                                   6   Assignment and the Agreements by engaging in the conduct described above and such
                                   7   additional claims as may hereafter be proven, including but not limited to: (a) denying
                                   8   Plaintiff unfettered access to LPG’s software systems; (b) terminating legal services
                                   9   agreements with customers and inducing such customers to entering into new legal
                                  10   services agreements with Oakstone; (c) attempting to terminate Plaintiff’s ability to
                                  11   make withdrawals from customer accounts; (d) causing withdrawals from customer
                                  12   accounts to be made for amounts for which only Plaintiff was authorized to withdraw;
300 S. Grand Avenue, Suite 2600




                                  13   and (e) sending the BankUnited Letter and filing the Petition in an attempt to divert
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14   revenue from Plaintiff.
                                  15         46.    As a result of this conduct, Plaintiff has been and will continue to be
                                  16   damaged. While the full amount of Plaintiff’s damages is presently unknown,
                                  17   Plaintiff is entitled to recover such sums, together with interest thereon at the
                                  18   maximum legal rate according to the proofs.
                                  19         47.    Defendants, in engaging in the above-described conduct, are guilty of
                                  20   oppression, fraud and/or malice, and were acting with willful and conscious disregard
                                  21   of the rights of Plaintiff. Plaintiff is therefore entitled to punitive damages against
                                  22   Defendants in an amount appropriate to properly punish those defendants for their
                                  23   conduct and to deter similar future conduct.
                                  24         48.    Based on the foregoing, Plaintiff is also entitled to a temporary
                                  25   restraining order, and preliminary and permanent injunctions commanding Defendants
                                  26   to provide Plaintiff unfettered access to all of LPG’s and Oakstone’s software systems
                                  27   containing non-privileged client or customer data and restraining and enjoining
                                  28   Defendants, and anyone acting in concert with either of them, and all such parties’

                                                                                   14
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 15 of 19 Page ID #:15




                                   1   agents, servants, employees, and other persons or entities acting on their behalf, or
                                   2   purportedly acting on their behalf, from any transfer of any customer and client
                                   3   accounts, termination of any agreements with customers and clients, withdrawals from
                                   4   any customer or client accounts, and from taking any actions that by design or effect
                                   5   may dissuade or prevent any person from processing withdrawals submitted by or on
                                   6   behalf of Plaintiff.
                                   7                             SECOND CLAIM FOR RELIEF
                                   8       (Intentional Interference with Contractual Relations - Against Oakstone)
                                   9         49.    Plaintiff repeats and re-alleges each of the allegations set forth in
                                  10   paragraphs 1 through 48 hereof as if fully set forth herein.
                                  11         50.    As alleged herein, Plaintiff had and has valid existing contracts with LPG
                                  12   and has performed in accordance with such contracts.
300 S. Grand Avenue, Suite 2600




                                  13         51.    Oakstone, as part of its business relationship with LPG, knew of the
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14   contracts between Plaintiff and LPG.
                                  15         52.    Oakstone, with the intent of disrupting and/or destroying the contracts
                                  16   between Plaintiff and LPG, engaged in the conduct described herein and such
                                  17   additional conduct as may hereafter be proven, including but not limited to: (a)
                                  18   participating in and assisting LPG in its alleged termination of legal services
                                  19   agreements with customers and entering into new legal services agreements with
                                  20   them; (b) causing withdrawals to be made from such customer accounts for amounts
                                  21   which only Plaintiff was authorized to withdraw; (c) sending the BankUnited Letter
                                  22   and filing the Petition in an attempt to diverting revenue from Plaintiff.
                                  23         53.    Oakstone’s conduct was willful and in bad faith and intended to disrupt
                                  24   the performance of LPG’s obligations under the contracts to prevent Plaintiff from
                                  25   recovering the monies it is owed so that LPG and Oakstone could keep the revenue for
                                  26   their own benefit.
                                  27         54.    As a result of this conduct, Plaintiff has been and will continue to be
                                  28   damaged. The full amount of Plaintiff’s damages is presently unknown. Plaintiff is

                                                                                   15
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 16 of 19 Page ID #:16




                                   1   entitled to recover such sums, together with interest thereon at the maximum legal rate
                                   2   according to the proofs.
                                   3          55.   Oakstone, in engaging in the above-described conduct, is guilty of
                                   4   oppression, fraud and/or malice, and was acting with willful and conscious disregard
                                   5   of the rights of Plaintiff. Plaintiff is therefore entitled to punitive damages against
                                   6   Oakstone in an amount appropriate to properly punish such defendant for its conduct
                                   7   and to deter similar future conduct.
                                   8                               THIRD CLAIM FOR RELIEF
                                   9                          (Conversion – Against both Defendants)
                                  10          56.   Plaintiff repeats and re-alleges each of the allegations set forth in
                                  11   paragraphs 1 through 55 hereof as if fully set forth herein.
                                  12          57.   Defendants have intentionally and substantially interfered with Plaintiff’s
300 S. Grand Avenue, Suite 2600




                                  13   property and rights without permission.
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14          58.   Defendants without authority intentionally deprived Plaintiff of
                                  15   possession and access to its personal property.
                                  16          59.   Defendants have wrongfully exercised dominion over property of
                                  17   Plaintiff.
                                  18          60.   Defendants have assumed control over Plaintiff’s property and have
                                  19   precluded Plaintiff from access to Plaintiff’s property.
                                  20          61.   As a result of this conduct, Plaintiff has been and continues to be
                                  21   damaged. The full amount of Plaintiff’s damages is presently unknown. Plaintiff is
                                  22   entitled to recover such sums, together with interest thereon at the maximum legal rate
                                  23   according to the proofs.
                                  24                              FOURTH CLAIM FOR RELIEF
                                  25         (Avoidance and Recovery of Fraudulent Transfers – Against Oakstone)
                                  26          62.   Plaintiff repeats and re-alleges each of the allegations set forth in
                                  27   paragraphs 1 through 61 hereof as if fully set forth herein.
                                  28          63.   Plaintiff is a creditor of LPG.

                                                                                   16
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 17 of 19 Page ID #:17




                                   1         64.    LPG transferred assets to Oakstone with actual intent to hinder, delay and
                                   2   defraud its creditors.
                                   3         65.    LPG transferred assets to Oakstone without receiving a reasonably
                                   4   equivalent value in exchange for such transfer, and was engaged or about to engage in
                                   5   a business or transaction for which the remaining assets or LPG were unreasonably
                                   6   small in relation to the business or transaction, and/or intended to incur, or believed or
                                   7   reasonably should have believed that it would incur, debts beyond LPG’s ability to
                                   8   pay as they became due.
                                   9         66.    Plaintiff was a creditor of LPG before LPG transferred assets to
                                  10   Oakstone.
                                  11         67.    LPG transferred assets to Oakstone without receiving reasonably
                                  12   equivalent value in exchange for the transfer and LPG was insolvent at the time of the
300 S. Grand Avenue, Suite 2600




                                  13   transfer or became insolvent as a result of the transfer.
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14         68.    Plaintiff is entitled to avoidance of the transfer of LPG’s assets to
                                  15   Oakstone and recovery of the assets for the benefit of Plaintiff.
                                  16                               FIFTH CLAIM FOR RELIEF
                                  17                      (Declaratory Relief – Against both Defendants)
                                  18         69.    Plaintiff repeats and re-alleges each of the allegations set forth in
                                  19   paragraphs 1 through 68 hereof as if fully set forth herein.
                                  20         70.    An actual conflict has arisen and now exists between Plaintiff and
                                  21   Defendants concerning Plaintiff’s contractual rights and Defendants’ interference
                                  22   with Plaintiff’s rights.
                                  23         71.    Plaintiff desires a judicial determination and declaration of the rights of
                                  24   the parties. Such a determination is appropriate at this time so that Plaintiff may
                                  25   determine its rights and duties.
                                  26         72.    Plaintiff seeks damages and other relief as prayed.
                                  27
                                  28

                                                                                   17
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 18 of 19 Page ID #:18




                                   1                                SIXTH CLAIM FOR RELIEF
                                   2    (Temporary Restraining Order, and Preliminary and Permanent Injunctions –
                                   3                                   Against Both Defendants)
                                   4         73.      Plaintiff repeats and re-alleges each of the allegations set forth in
                                   5   paragraphs 1 through 72 hereof as if fully set forth herein.
                                   6         74.      Based on the foregoing, Plaintiff is also entitled to a temporary
                                   7   restraining order, and preliminary injunction and a permanent injunctions
                                   8   commanding Defendants to provide Plaintiff unfettered access to all of LPG’s and
                                   9   Oakstone’s software systems containing non-privileged client or customer data and
                                  10   restraining and enjoining Defendants, and anyone acting in concert with either of
                                  11   them, and all such parties’ agents, servants, employees, and other persons or entities
                                  12   acting on their behalf, or purportedly acting on their behalf, from any transfer of any
300 S. Grand Avenue, Suite 2600




                                  13   customer and client accounts, termination of any agreements with customers and
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14   clients, withdrawals from any customer or client accounts, and from taking any
                                  15   actions that by design or effect may dissuade or prevent any person from processing
                                  16   withdrawals submitted by or on behalf of Plaintiff.
                                  17         75.      Plaintiff will be irreparably harmed if a temporary restraining order and
                                  18   the injunctions are not issued as set forth above.
                                  19         76.      Plaintiff is likely to and will succeed on the merits of Plaintiff’s claims in
                                  20   this action.
                                  21         77.      The equities in this action favor the granting of injunctive relief in
                                  22   Plaintiff’s favor and the injunction is in the public interest.
                                  23         78.      Plaintiff has no adequate remedy at law as to future damages if the
                                  24   requested injunction is not issued.
                                  25
                                  26                                   PRAYER FOR RELIEF
                                  27         WHEREFORE, Plaintiff prays for judgment against Defendants as follows:
                                  28         1.       For judgment in favor of Plaintiff on all causes of action;

                                                                                     18
                                  Case 8:23-cv-00339-JWH-ADS Document 1 Filed 02/24/23 Page 19 of 19 Page ID #:19




                                   1           2.     For the temporary restraining order and preliminary and permanent
                                   2                  injunctive relief requested in this Complaint;
                                   3           3.     For general damages, plus interest, according to the proofs at trial;
                                   4           4.     For lost profits according to the proofs at trial;
                                   5           5.     For punitive damages according to the proofs at trial;
                                   6           6.     For reasonable attorneys’ fees and costs incurred herein to the extent
                                   7                  permitted by statute or contract;
                                   8           7.     For prejudgment interest; and
                                   9           For such other relief as the Court deems just and proper.
                                  10
                                  11   Dated: February 24, 2023                      Respectfully submitted,
                                  12                                                 LOCKE LORD LLP
300 S. Grand Avenue, Suite 2600




                                  13
    Los Angeles, CA 90071
       Locke Lord LLP




                                  14                                                 By: /s/ David Kupetz
                                  15                                                         David Kupetz
                                                                                     Attorneys for Plaintiff MARICH BEIN LLC
                                  16
                                  17
                                  18
                                  19
                                  20
                                  21
                                  22
                                  23
                                  24
                                  25
                                  26
                                  27
                                  28

                                       132011141v.1                                  19
